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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 1:21 cv 20924

 YORKS CANCHARI,

        Plaintiff,

 v.

 REVCO SOLUTIONS, INC.,

       Defendant.
 __________________________________________/

                            NOTICE OF PENDING SETTLEMENT

        Plaintiff, YORKS CANCHARI, through undersigned counsel, hereby submits this Notice

 of Pending Settlement and states the parties have reached a settlement regarding the case and are

 presently drafting, finalizing and executing the formal settlement documents. Upon full execution

 of the same, the parties will file the appropriate dismissal documents with the Court.

 Dated: April 9, 2021

                                                      Respectfully submitted,

                                                      JOSE M. FRANCISCO, P.A.
                                                      Attorneys for Plaintiff
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                                                      By:     /s/ Jose M. Francisco
                                                              JOSE M. FRANCISCO
                                                              Fla. Bar #0892874
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                            CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on April 9, 2020 I electronically filed the foregoing
 document with the Clerk of Court using CM/ECF. I also certify that the foregoing is
 being served this day on all counsel of record or pro se parties identified on the
 following Service List in the manner specified, either via transmission of Notices of
 Electronic Filing generated by CM/ECF or in some other authorized manner for those
 counsel or parties who are not authorized to receive electronically notices of Electronic
 Filing.

                                                       /s/ Jose M. Francisco
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                                SERVICE LIST

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